                       UNITED STATES BANKRUPTCY COURT
                         MIDDLE DISTRICT OF TENNESSEE

IN RE:                               )
                                     )   CASE NO.: 3:19-01961
KEVIN WAYNE DAVIS,                   )   CHAPTER 7
WENDY RENEE JONES DAVIS,             )   JUDGE HARRISON
aka WENDY RENEE JONES,               )
aka WENDY RENEE DAVIS,               )
                                     )
                                     )
             Debtors                 )
                                     )
SUNTRUST BANK,                       )
                                     )
                                     )
                                     )
                                     )
                                     )
             Movant                  )
                                     )
v.                                   )
                                     )
KEVIN WAYNE DAVIS,                   )
WENDY RENEE JONES DAVIS,             )
aka WENDY RENEE JONES,               )
aka WENDY RENEE DAVIS,               )
                                     )
                                     )
             Debtors                 )
                                     )
And                                  )
                                     )
JEANNE ANN BURTON,                   )
                                     )
Chapter 7 Trustee                    )
                                     )
             Respondents             )
                                     )

   MOTION FOR RELIEF FROM AUTOMATIC STAY AND ABANDONMENT OF
                    PROPERTY FILED BY SUNTRUST BANK
______________________________________________________________________________




Case 3:19-bk-01961     Doc 17   Filed 06/14/19 Entered 06/14/19 21:37:00   Desc Main
                                Document     Page 1 of 4
      Comes now, SunTrust Bank, by and through its attorney, pursuant to Sections 362 and 554 of

the Bankruptcy Code and Rule 6007(b) of the Federal Rules of Bankruptcy Procedure, and in

support of its Motion for Relief from the Automatic Stay and Abandonment of Property, would state

and show unto the Court that:

       1. SunTrust Bank is a creditor of Debtor, Kevin W. Davis, by virtue of that certain Retail

          Installment Contract Simple Finance Charge (“Contract”) dated September 29, 2018, for

          the purchase of a 2018 Nissan Titan, VIN: 1N6AA1E57JN529913 (“Vehicle”). Pursuant

          to the terms of the Contract, SunTrust Bank has a validly perfected, first priority security

          interest in the Vehicle as reflected on the Certificate of Title issued by the State of

          Tennessee.

       2. As of June 6, 2019, the payoff on the Vehicle is $39,851.22 and the Debtor is delinquent

          in the amount of $1,208.86.

       3. The N.A.D.A retail value of the Vehicle is $41,725.00.

       4. Pursuant to 11 U.S.C. Section 362(d)(1) and Section 362(d)(2), sufficient cause exists for

          the lifting of the automatic stay as to SunTrust Bank, its collateral and the proceeds

          thereof. Said causes include, and are not limited to, the lack of adequate protection, the

          lack of equity in the property and the lack of necessity for the property to effectuate a

          successful reorganization in filing this bankruptcy case.

       5. The Debtor is obligated by law to surrender the Vehicle to SunTrust Bank immediately.

       6. Pursuant to 11 U.S.C. § 554, the Vehicle should be abandoned by the estate as the

          Vehicle is burdensome to the estate and is of inconsequential value and benefit to the

          estate.

       WHEREFORE, the above premises considered, SunTrust Bank prays:




Case 3:19-bk-01961       Doc 17    Filed 06/14/19 Entered 06/14/19 21:37:00               Desc Main
                                   Document     Page 2 of 4
      1.      That it be granted relief from the automatic stay to proceed with any and all remedies

             available under state and/or federal law that are not inconsistent with Title 11 of the

             United States Code regarding the above-referenced collateral;

      2.     That the Vehicle be abandoned by the estate as the Vehicle is burdensome to the

             estate and is of inconsequential value or benefit;

      3.     The provisions of Rule 4001(a)(3) of the Federal Rules of Bankruptcy procedure be

             waived; and

      4.     For such other relief to which it may be entitled.


                                     Respectfully submitted,


                                     /s/ Holly N. Knight_______
                                     Holly N. Knight (017940)
                                     Attorney for SunTrust Bank
                                     102 Woodmont Boulevard, Suite 200
                                     Nashville, TN 37205
                                     (615) 345-0328
                                     (615) 383-1235 facsimile
                                     hknight@knightlawpllc.com

                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served
electronically upon:

Daniel Castagna
Flexer Law, PLLC
1900 Church Street
Suite 400
Nashville, TN 37203
Debtor’s Attorney

Jeanne Ann Burton
Jeanne Ann Burton, PLLC
4117 Hillsboro Pk
Suite 103-116
Nashville, TN 37215




Case 3:19-bk-01961     Doc 17     Filed 06/14/19 Entered 06/14/19 21:37:00              Desc Main
                                  Document     Page 3 of 4
Chapter 7 Trustee

US Trustee
701 Broadway, Suite 318
Nashville, TN 37203-3966
U.S. Trustee

and by U.S. Mail, postage prepaid upon:

Kevin Wayne Davis
Wendy Renee Jones Davis
10059 Old Nashville Highway
Smyrna, TN 37167

this the 14th day of June, 2019.
                                           /s/ Holly N. Knight_______________
                                           Holly N. Knight




Case 3:19-bk-01961       Doc 17    Filed 06/14/19 Entered 06/14/19 21:37:00     Desc Main
                                   Document     Page 4 of 4
